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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

HANNAH ISAACS,

      Plaintiff.

v.                                            Case No.: 4:20cv471-MW/MJF

RON DESANTIS,

     Defendant.
_____________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 10. Upon consideration, with no objections having

been filed by the parties,

      IT IS ORDERED:

      The Report and Recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “This action is DISMISSED for

failure to comply with two orders of this court and for failure to pay the filing fee.”

The Clerk shall close the file.

      SO ORDERED on March 24, 2021.
                                        s/Mark E. Walker
                                        Chief United States District Judge
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